         Case 23-90005 Document 2273 Filed in TXSB on 05/13/24 Page 1 of 11




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                     ) Chapter 11
In re:
                                     )
                                     ) Case No. 23-90005 (MI)
PARTY CITY HOLDCO INC., et al.1      )
                                     ) (Jointly Administered)
       Reorganized Debtors.          )
                                     )
                                     )
REORGANIZED DEBTORS’ TWENTY-THIRD OMNIBUS OBJECTION TO CERTAIN
                   PROOFS OF CLAIM (AMENDED CLAIMS)


    THIS IS AN OBJECTION TO YOUR CLAIM. THE OBJECTING PARTY IS
    ASKING THE COURT TO DISALLOW THE CLAIM THAT YOU FILED IN THIS
    BANKRUPTCY CASE. YOU SHOULD IMMEDIATELY CONTACT THE
    OBJECTING PARTY TO RESOLVE THE DISPUTE. IF YOU DO NOT REACH AN
    AGREEMENT, YOU MUST FILE A RESPONSE TO THIS OBJECTION AND
    SEND A COPY OF YOUR RESPONSE TO THE OBJECTING PARTY WITHIN 30
    DAYS AFTER THE OBJECTION WAS SERVED ON YOU. YOUR RESPONSE
    MUST STATE WHY THE OBJECTION IS NOT VALID. IF YOU DO NOT FILE A
    RESPONSE WITHIN 30 DAYS AFTER THE OBJECTION WAS SERVED ON YOU,
    YOUR CLAIM MAY BE DISALLOWED WITHOUT A HEARING.

    A HEARING HAS BEEN SET ON THIS MATTER ON JUNE 17, 2024 AT 10:00 A.M.
    (PREVAILING CENTRAL TIME) IN COURTROOM 404, 515 RUSK, HOUSTON,
    TEXAS 77002. YOU MAY PARTICIPATE IN THE HEARING EITHER IN PERSON
    OR BY AUDIO/VIDEO CONNECTION.

    AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S DIAL-IN
    FACILITY. YOU MAY ACCESS THE FACILITY AT (832) 917-1510. YOU WILL
    BE RESPONSIBLE FOR YOUR OWN LONG DISTANCE CHARGES. ONCE
    CONNECTED, YOU WILL BE ASKED TO ENTER THE CONFERENCE ROOM
    NUMBER. JUDGE ISGUR’S CONFERENCE ROOM NUMBER IS 954554.

    YOU MAY VIEW VIDEO VIA GOTOMEETING. TO USE GOTOMEETING, THE
    COURT RECOMMENDS THAT YOU DOWNLOAD THE FREE GOTOMEETING
1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, were: Party City Holdco Inc. (9758); Amscan Custom Injection Molding, LLC (4238); Amscan Inc.
    (1359); Amscan Purple Sage, LLC (3514); Am-Source, LLC (8427); Anagram Eden Prairie Property Holdings
    LLC (8309); Party City Corporation (3692); Party City Holdings Inc. (3029); Party Horizon Inc. (5812); PC
    Intermediate Holdings, Inc. (1229); PC Nextco Finance, Inc. (2091); PC Nextco Holdings, LLC (7285); Print
    Appeal, Inc. (5932); and Trisar, Inc. (0659). The location of the Debtors’ and Reorganized Debtors’ service
    address for purposes of these chapter 11 cases is: 100 Tice Boulevard, Woodcliff Lake, New Jersey 07677.

                                                         1
15353062
       Case 23-90005 Document 2273 Filed in TXSB on 05/13/24 Page 2 of 11




   APPLICATION. TO CONNECT, YOU SHOULD ENTER THE MEETING CODE
   “JUDGEISGUR” IN THE GOTOMEETING APP OR CLICK THE LINK ON
   JUDGE ISGUR’S HOME PAGE ON THE SOUTHERN DISTRICT OF TEXAS
   WEBSITE. ONCE CONNECTED, CLICK THE SETTINGS ICON IN THE UPPER
   RIGHT CORNER AND ENTER YOUR NAME UNDER THE PERSONAL
   INFORMATION SETTING.

   HEARING APPEARANCES MUST BE MADE ELECTRONICALLY IN ADVANCE
   OF THE HEARING. TO MAKE YOUR ELECTRONIC APPEARANCE, GO TO
   THE SOUTHERN DISTRICT OF TEXAS WEBSITE AND SELECT
   “BANKRUPTCY COURT” FROM THE TOP MENU. SELECT “JUDGES’
   PROCEDURES,” THEN “VIEW HOME PAGE” FOR JUDGE ISGUR. UNDER
   “ELECTRONIC APPEARANCE” SELECT “CLICK HERE TO SUBMIT
   ELECTRONIC APPEARANCE”. SELECT “PARTY CITY HOLDCO INC. ET AL.,”
   COMPLETE THE REQUIRED FIELDS, AND CLICK “SUBMIT” TO COMPLETE
   YOUR APPEARANCE.

   THIS OBJECTION SEEKS TO DISALLOW AND EXPUNGE CERTAIN PROOFS
   OF CLAIM. CLAIMANTS RECEIVING THIS OBJECTION SHOULD LOCATE
   THEIR NAMES ON EXHIBIT 1 TO THE ORDER ATTACHED TO THIS
   OBJECTION.

           Party City Holdco Inc. and certain of its affiliates (before the effective date of their chapter

11 plan of reorganization, the “Debtors” and after the effective date of their chapter 11 plan of

reorganization, the “Reorganized Debtors”) hereby submit this omnibus claim objection (the

“Objection”). In support of the Objection, the Reorganized Debtors submit the Declaration of

Thora Thoroddsen in Support of Reorganized Debtors’ Twenty-Third Omnibus Objection to

Certain Proofs of Claim (Amended Claims) attached hereto as Exhibit A (the “Thoroddsen

Declaration”) and respectfully represent as follows:

                                             Relief Requested

           1.      The Reorganized Debtors request entry of an order, in the form attached hereto (the

“Proposed Order”), pursuant to section 502(b) of title 11 of the United States Code (the

“Bankruptcy Code”) and rule 3007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and rule 3007-1 of the Bankruptcy Local Rules of the United States Bankruptcy Court for

the Southern District of Texas (the “Local Rules”), disallowing and expunging the claims

                                                      2
15353062
       Case 23-90005 Document 2273 Filed in TXSB on 05/13/24 Page 3 of 11




identified on Exhibit 1 to the Proposed Order (collectively, the “Amended Claims”) in their

entirety because the Reorganized Debtors determined that each such proof of claim was amended

and replaced by another claim identified as the “Surviving Claim” on Exhibit 1 (each, a “Surviving

Claim,” and collectively, the “Surviving Claims”) filed against the same Debtor.

                                     Jurisdiction and Venue

           2.   The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334.

           3.   Venue is proper pursuant to 28 U.S.C. § 1408.

           4.   The Reorganized Debtors confirm their consent, pursuant to Bankruptcy Rule 7008

and Local Rule 7008-1 to the entry of a final order by the Court in connection with this Objection

to the extent that it is later determined that the Court, absent consent of the parties, cannot enter

final orders or judgments in connection herewith consistent with Article III of the United States

Constitution.

                                           Background

           5.   On January 17, 2023 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11 Cases”). On January

18, 2023, the Court entered an Order authorizing the joint administration and procedural

consolidation of these Chapter 11 Cases pursuant to Bankruptcy Rule 1015(b) and Bankruptcy

Local Rule 1015-1. On February 1, 2023, the Office of the United States Trustee for the Southern

District of Texas (the “U.S. Trustee”) appointed an Official Committee of Unsecured Creditors

[Docket No. 289]. No request for the appointment of a trustee or examiner has been made in these

Chapter 11 Cases.

           6.   A detailed description of the Debtors and their businesses, including the facts and

circumstances giving rise to the Debtors’ Chapter 11 Cases, is set forth in the Declaration of David



                                                 3
15353062
       Case 23-90005 Document 2273 Filed in TXSB on 05/13/24 Page 4 of 11




Orlofsky, Chief Restructuring Officer of Party City Holdco Inc., in Support of Chapter 11 Petitions

and First Day Motions [Docket No. 11] (the “First Day Declaration”).

           7.    On September 6, 2023, the Court entered the Findings of Fact, Conclusions of Law,

and Order (I) Approving the Debtors’ Disclosure Statement and Disclosure Statement Supplement

on a Final Basis and (II) Confirming the Fourth Amended Joint Chapter 11 Plan of Reorganization

of Party City Holdco Inc. and Its Debtor Affiliates [Docket No. 1711] (the “Confirmation Order”).

           8.    On October 12, 2023, the Reorganized Debtors filed the Notice of (I) Entry of Order

Approving the Debtors’ Disclosure Statement and Disclosure Statement Supplement and

Confirming the Fourth Amended Joint Chapter 11 Plan of Reorganization of Party City Holdco

Inc. and Its Debtor Affiliates and (II) Occurrence of Effective Date [Docket No. 1795], disclosing

that the effective date of the chapter 11 plan occurred on October 12, 2023, the plan was

substantially consummated, and the Debtors emerged from chapter 11.

           9.    On October 13, 2024, the Party City GUC Trust (the “Trust”) was formed pursuant

to the terms and conditions of the Confirmation Order, the Fourth Amended Joint Chapter 11 Plan

of Reorganization of Party City Holdco Inc. and Its Debtor Affiliates [Docket No. 1672], and that

certain GUC Trust Agreement and Declaration of Trust dated October 12, 2023.

                                The Claims Reconciliation Process

           10.   On March 1, 2023, the Court entered the Order (I) Setting Bar Dates for Filing

Proofs of Claim, Including Requests for Payment Under Section 503(b)(9), (II) Establishing

Amended Schedules Bar Date and Rejection Damages Bar Date, (III) Approving the Form of and

Manner for Filing Proofs of Claim, Including Section 503(b)(9) Requests, and (IV) Approving

Notice of Bar Dates [Docket No. 574] (the “Bar Date Order”) establishing certain dates and

deadlines for filing proofs of claim in these Chapter 11 Cases. Among other things, the Bar Date

Order set April 3, 2023 at 5:00 p.m. and July 17, 2023 at 5:00 p.m. (Prevailing Central Time) as

                                                  4
15353062
       Case 23-90005 Document 2273 Filed in TXSB on 05/13/24 Page 5 of 11




deadlines by which non-governmental claimants and governmental claimants, respectively, must

file proofs of claim.

           11.   On March 3, 2023, the Debtors filed their respective statements of financial affairs

and schedules of assets and liabilities [Docket Nos. 598–615, 618–627] (collectively, the

“Schedules and Statements”), pursuant to Bankruptcy Rule 1007 and the Order (I) Extending Time

to File (A) Schedules of Assets and Liabilities, (B) Schedules of Current Income and Expenditures,

(C) Schedules of Executory Contracts and Unexpired Leases, (D) Statements of Financial Affairs,

and (E) Rule 2015.3 Financial Reports and (II) Granting Related Relief [Docket No. 101].

           12.   On June 8, 2023, the Court entered the Order (A) Approving (I) Omnibus Claims

Objections Procedures and (II) Filing of Substantive Omnibus Claims Objections, (B) Waiving the

Requirement of Bankruptcy Rule 3007(e)(6), and (C) Granting Related Relief [Docket No. 1286]

(the “Objection Procedures Order”).

           13.   The Reorganized Debtors and their advisors have been working diligently to review

the proofs of claim, including supporting documentation, if any, filed together with any proof of

claim. As a result of this process, the Reorganized Debtors have identified certain claims that the

Reorganized Debtors now seek approval to disallow and expunge by this Objection for the reasons

stated below.

                                              Objection

           14.   Section 502 of the Bankruptcy Code provides, in pertinent part, that: “[a] claim or

interest, proof of which is filed under § 501 of [the Bankruptcy Code], is deemed allowed, unless

a party in interest . . . objects.” 11 U.S.C. § 502. Moreover, Bankruptcy Rule 3007 provides certain

grounds upon which “objections to more than one claim may be joined in an omnibus objection,”

which include when “the objections are based solely on the grounds that the claims should be

disallowed, in whole or in part, because”: (a) “they duplicate other claims”; (b) “they have been

                                                  5
15353062
       Case 23-90005 Document 2273 Filed in TXSB on 05/13/24 Page 6 of 11




filed in the wrong case”; (c) “they have been amended by subsequently filed proofs of claim”; (d)

“they have been satisfied or released during the case in accordance with the Code, applicable rules,

or a court order”; (e) “they were presented in a form that does not comply with applicable rules”;

or (f) “they are interests, rather than claims.” Fed. R. Bankr. P. 3007(d). The Objection Procedures

Order expands Bankruptcy Rule 3007(d) and permits the Reorganized Debtors to file omnibus

objections to claims on additional grounds.

           15.   As set forth in Bankruptcy Rule 3001(f), a properly executed and filed proof of

claim constitutes prima facie evidence of the validity and the amount of the claim under section

502(a) of the Bankruptcy Code. See, e.g., In re Jack Kline Co., Inc., 440 B.R. 712, 742 (Bankr.

S.D. Tex. 2010) (holding that “a proof of claim is prima facie evidence of the pre-petition debt

owed”); In re Tran, 351 B.R. 440, 444 (Bankr. S.D. Tex. 2006), aff'd, 369 B.R. 312 (S.D. Tex.

2007) (holding that “[a] properly filed proof of claim is prima facie evidence of the validity and

amount of the claim.”). A proof of claim loses the presumption of prima facie validity under

Bankruptcy Rule 3001(f) if an objecting party refutes at least one of the allegations that are

essential to the claim’s legal sufficiency. See In re Fidelity Holding Co., Ltd., 837 F.2d 696, 698

(5th Cir. 1988) (“If . . . evidence rebutting the claim is brought forth, then the claimant must

produce additional evidence to prove the validity of the claim by a preponderance of the

evidence.”) (internal quotations omitted). Once such an allegation is refuted, the burden reverts to

the claimant to prove the validity of its claim by a preponderance of the evidence. Id. However,

despite this shifting burden during the claim objection process, “the ultimate burden of proof

always rests upon the claimant.” Id.

           16.   As set forth in the Thoroddsen Declaration, the Reorganized Debtors thoroughly

reviewed their books and records, and the claims register, and determined that the Amended



                                                 6
15353062
       Case 23-90005 Document 2273 Filed in TXSB on 05/13/24 Page 7 of 11




Claims identified on Exhibit 1 to the Proposed Order were subsequently amended and replaced by

the “Surviving Claims” identified on Exhibit 1 to the Proposed Order. Some of the proofs of claim

were filed to change the amounts or to modify the claimant asserting the Amended Claim. The

Amended Claims should be disallowed and expunged from the claims register to streamline the

distribution process and reduce the risk that claimants with multiple proofs of claim for the same

alleged liability receive recoveries in excess of what is allegedly owed.

           17.   The Objection will not affect each claim identified in the column labeled

“Surviving Claims” on Exhibit 1 to the Proposed Order, which will remain on the claims register

unless the applicable claimant withdraws or the Court otherwise disallows each such Claim, and

the Reorganized Debtors reserve their right to object to the Surviving Claims on any grounds

whatsoever. Accordingly, the Reorganized Debtors respectfully request that the Court enter the

Proposed Order disallowing and expunging the Amended Claims identified on Exhibit 1 to the

Proposed Order.

                                       Reservation of Rights

           18.   This Objection is limited to the grounds stated herein. Accordingly, it is without

prejudice to the rights of the Reorganized Debtors or any other party-in-interest to object to any of

the Amended Claims or Surviving Claims on any grounds whatsoever. The Reorganized Debtors

hereby reserve the right to object in the future to any of the Amended Claims or Surviving Claims

on any ground, and to amend, modify, and/or supplement this Objection.

                                    Separate Contested Matter

           19.   To the extent that a response is filed regarding any Amended Claim and the

Reorganized Debtors are unable to resolve any such response, each such Amended Claim, and the

Objection as it pertains to such Amended Claim, will constitute a separate contested matter as

contemplated by Bankruptcy Rule 9014. Further, the Reorganized Debtors request that any order

                                                 7
15353062
       Case 23-90005 Document 2273 Filed in TXSB on 05/13/24 Page 8 of 11




entered by the Court regarding an objection asserted in this Objection be deemed as a separate

order with respect to each proof of claim.

                                               Notice

           20.   The Reorganized Debtors will provide notice of this Motion to the following parties

or their respective counsel: (a) the Office of the United States Trustee for the Southern District of

Texas; (b) the holders of the 30 largest unsecured claims against the Debtors (on a consolidated

basis); (c) JPMorgan Chase Bank, N.A., as Prepetition ABL Agent, and counsel thereto, Simpson

Thacher & Bartlett LLP, 425 Lexington Ave., New York, NY 10017; (d) counsel to the Ad Hoc

Noteholder Group, Davis Polk & Wardwell LLP, 450 Lexington Ave., New York, NY 10017;

(e) Ankura Trust Company, LLC, as First Lien Notes Trustee, 140 Sherman St., 4th Fl., Fairfield,

CT 06824; (f) Wilmington Trust, National Association, as Unsecured Notes Trustee, 246 Goose

Ln., Ste. 105, Guilford, CT 06437; (g) counsel to the Ad Hoc Group of Anagram Noteholders,

Milbank LLP, 55 Hudson Yards, New York, NY 10001; (h) Ankura Trust Company, LLC, as

agent under the DIP Facility, and counsel thereto, Chapman and Cutler LLP, 1270 Avenue of the

Americas, New York, NY 10020; (i) counsel to the Trust, Pachulski Stang Ziehl & Jones, 919 N.

Market Street, Suite 1700, Wilmington, DE 19801; (j) the United States Attorney’s Office for the

Southern District of Texas; (k) the Internal Revenue Service; (l) the United States Securities and

Exchange Commission; (m) the state attorneys general for states in which the Reorganized Debtors

conduct business; (n) other regulatory agencies having a regulatory or statutory interest in these

cases; (o) every affected claimant party (or the respective attorney of record) set forth on each

proof of claim; and (p) any party that has requested notice pursuant to Bankruptcy Rule 2002

(collectively, the “Notice Parties”). The Reorganized Debtors submit that, in light of the nature of

the relief requested, no other or further notice need be given.



                                                  8
15353062
       Case 23-90005 Document 2273 Filed in TXSB on 05/13/24 Page 9 of 11




           WHEREFORE, the Reorganized Debtors respectfully request entry of the Proposed Order

granting the relief requested herein and such other and further relief as the Court may deem just

and proper.


                            [Remainder of page intentionally left blank]




                                                 9
15353062
      Case 23-90005 Document 2273 Filed in TXSB on 05/13/24 Page 10 of 11




May 13, 2024                        Respectfully submitted,

                                    By: /s/ John F. Higgins
                                    PORTER HEDGES LLP
                                    John F. Higgins (TX Bar No. 09597500)
                                    M. Shane Johnson (TX Bar No. 24083263)
                                    Heather K. Hatfield (TX Bar No. 24050730)
                                    Megan Young-John (TX Bar No. 24088700)
                                    1000 Main St., 36th Floor
                                    Houston, Texas 77002
                                    Telephone: (713) 226-6000
                                    Facsimile: (713) 226-6248
                                    jhiggins@porterhedges.com
                                    sjohnson@porterhedges.com
                                    hhatfield@porterhedges.com
                                    myoung-john@porterhedges.com

                                    - and -

                                    PAUL, WEISS, RIFKIND, WHARTON &
                                    GARRISON LLP
                                    Paul M. Basta (admitted pro hac vice)
                                    Kenneth S. Ziman (admitted pro hac vice)
                                    Christopher J. Hopkins (admitted pro hac vice)
                                    Grace C. Hotz (admitted pro hac vice)
                                    1285 Avenue of the Americas
                                    New York, New York 10019
                                    Telephone: (212) 373-3000
                                    Facsimile: (212) 757-3990
                                    pbasta@paulweiss.com
                                    kziman@paulweiss.com
                                    chopkins@paulweiss.com
                                    ghotz@paulweiss.com

                                    Counsel to the Reorganized Debtors




                                      10
15353062
      Case 23-90005 Document 2273 Filed in TXSB on 05/13/24 Page 11 of 11




                                     Certificate of Service

        I certify that on May 13, 2024, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                             /s/ John F. Higgins
                                             John F. Higgins




                                               11
15353062
